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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

JENNIFER RIST THOMPSON, : CIVIL ACTION N0.
Plaintiff, * SECTION:
k
v. * JUDGE:
k
LABORATORY CORPORATION OF * MAGISTRATE:
AMERICA :
Defendant. *
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NOTICE OF REMOVAL

 

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF LOUISIANA

Defendant Laboratory Corporation of Arnerica (“LabCorp”), pursuant to 28 U.S.C. §§
1332 and 1446, vvith full reservation of any and all defenses, objections and exceptions, does
hereby remove this action, Which had been pending as Case No. 2013-13383 in the 22nd Judicial
District Court for the Parish of St. Tamrnany, State of Louisiana (the “Action”), to the United
States District Court for the Eastern District of Louisiana. In support of this Notice of Rernoval,
LabCorp states as follows:
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On July 24, 2013, Plaintiff Jenrn'fer Rist Thornpson filed the Action against LabCorp in
the 22nd Judicial District Court for the Parish of St. Tammany, State of Louisiana, Case No.
2013-13383, entitled “Jennz`fer Rist Thompson versus Laboratory Corporation ofAmerz`ca.” The
Petition for Damages generally alleges that Plaintiff suffered a permanent nerve injury When

blood vvas drawn from her during her pregnancy See Petition, 1111 ll and III. Plaintiff further

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asserts that, as a result of this alleged injury, she has suffered damages including pain and
suffering, disability and loss of function, mental anguish, medical expenses, lost Wages and lost
earning capacity, and other damages See Petition, jj VI.

2. Basis for Jurisdiction in this Court;

This Court has jurisdiction over this matter pursuant to 28 U.S.C. § l332, diversity of
citizenship, because: (l) the requisite diversity of citizenship exists between Plaintiff and the
diverse defendant, LabCorp; and (2) the amount in controversy exceeds $75,000, exclusive of
interest and costs. d v
3. j Citizenship of Plaintiff:

Plaintiff is, and vvas at the time the state court action Was commenced, domiciled in the
state of Louisiana, see Petition (Exhibit l), and is a citizen of Louisiana. 28 U.S.C. § 1332(0).

4. Citizenship of Defendant:

 

At the time the action Was tiled, LabCorp Was, and still is, a corporation incorporated in
the State of Delavvare, With its principal place of business in the State of North Carolina. At the
time that the action Was commenced, LabCorp Was not, and still is not, a citizen of the State of
7 Louisiana.

5 . Amount in Controversy:

It is facially apparent from Plaintiff`s Petition that the amount in controversy exceeds the
sum or value of $75,000, exclusive of interest and costs.l Plaintiff claims that she suffered a
permanent nerve injury When blood Was drawn from her during her pregnancy, causing her

immediate pain and lasting complications, such as pain, Weakness, tingling, and nerve damage

 

1 Consistent With Louisiana laW, Plaintiff has not specifically alleged a monetary amount of
damages See La. Code Civ. Proc. art. 893(A)(l) (prohibiting allegations of specific monetary
amounts of damages unless necessary to establish a right to a jury trial or jurisdiction or lack
thereof).

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See Petition, jjjj ll and Ill. Plaintiff further claims that, as a result of this alleged injury, she has
suffered damages including pain and suffering, disability and loss of function, mental anguish,
medical expenses, lost Wages and lost earning capacity, and other damages See Petition, jj VI.

Courts have routinely held that damages allegations of the type alleged in this case,
including past and future medical expenses, pain and suffering, mental anguish and distress,
permanent disability, lost wages, lost income potential, embarrassment, and lost quality and
enjoyment of life, are sufficient to facially demonstrate that the amount in controversy for federal
jurisdiction is satisfied See, e.g., Gebbz`a v. Wal-Mart Stores, Inc., 233 F.3d 880, 883 (Sth Cir.
2000) (concluding that plaintiffs personal injury petition alleged damages in excess of $75,000
When plaintiff sought damages for medical expenses, physical pain and suffering, mental
anguish, loss of enjoyment of life, loss of Wages and earning capacity, and permanent disability
and disfigurement for injuries sustained to plaintiff Wrist, knee and back); Luckett v. Delta
Az`rlz`nes, Inc., l7l F.3d 295, 298 (Sth Cir. 1999) (Where airline lost luggage containing heart
medication, contributing to subsequent heart failure, allegations of damages for property, travel
expenses, emergency ambulance trip, six-day hospitalization, pain and suffering, humiliation and
temporary inability to do housework satisfied the requirement that $75,000 amount in
controversy be facially apparent).

Thus, it is readily apparent that Plaintiff’s request for numerous items of alleged
damages, including past and future pain and suffering, disability and loss of function, mental
anguish, medical expenses, lost Wages and lost earning capacity, and other damages, places more
than $75,000 in controversy. See, e.g., Gebbz`a 233 F.3d at 883.

6. Removal is Timely:

A notice of removal is timely When filed “vvithin thirty days after receipt by the defendant

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through service or otherwise, of a copy of an amended pleading, motion, order or other paper
from which it may first be ascertained that the case is one which is or has become removable.”
28 U.S.C. § l446(b) (emphasis added). LabCorp was served on July 29, 20134. This Notice of
Removal is timely filed within thirty days of luly 29, 20143. 28 U.S.C. § l446(b).

The United States District Court for the Eastern District of Louisiana embraces the parish
in which the state court action was filed, and thus this case is properly removed to this Court
under 28 U.S.C. §§ 98(0) and l44l(a).

7. Removal Without Waiver of Exceptions, Defenses, or Objections

This action is being removed without any waiver of any exception, defense, or objection,
state or federal, including but not limited to service, citation, venue, lack of amicable demand,
non-joinder of a party, jurisdiction, prematurity, and vagueness
8. Pleadings and Process:

Pursuant to 28 U.S.C. § l446(a), copies of the Petition and citation served on LabCorp
are attached hereto as Exhibit l. No other process, pleadings or orders have been served upon
LabCorp in the Action.

Pursuant to 28 U.S.C. § l446(d), LabCorp is filing written notice of this removal with the
clerk of the state court in which the action is currently pending Copies of the State Court Notice
of Removal together with this Notice of Removal are being served upon Plaintiff`s counsel
pursuant to 28 U.S.C. § l446(d).

9. Filing Fee:
LabCorp files and presents herewith the appropriate filing fee as required by 28 U.S.C.

§1446.

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l hereby certify that on this 27th day of August, 2013, a copy of the foregoing pleading
has been filed with the United States District Court for the Eastern District of Louisiana by
electronic case filing/case management All counsel of record are being served with this filing
by either the court’s electronic filing system or by telefaxing and/or placing a copy of same in

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Respectf`ully submitted,

/s/ Brem‘ A. Talbot
BRENT A. TALBOT, #19174, T.A.
PETER J. ROTOLO, #21848
LORETTA O. HOSKINS, #30558

_Of_

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ATTORNEYS FOR LABORATORY
CORPORATION OF AMERICA

CERTIFICATE OF SERVICE

the United States mail, properly addressed and with adequate postage affixed thereon

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/S/ Brent A. Talb0t

